EXHIBIT 2
12/1/2020              American Broadcasting Companies, Inc., et al. v. Goodfriend, et al.                 John S. Orlando

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       ____________________________________________________
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                 DIGITAL EVIDENCE GROUP
              1730 M Street, NW, Suite 812
                                                               20        CBS0003338                    138
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                                                               22
                   (202) 232-0646


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   1        A I believe that every CBS station does              1    there, when -- if complaints came in, and I don't
   2   whatever is within the prescribed rules of the FCC        2    think they were -- I think they were fairly rare,
   3   and does everything within their, quote, power to         3    they were usually -- I hesitate to call it viewer
   4   reach every household in their market.                    4    error, but they were generally something that
   5        Q Do CBS stations get complaints about               5    could be resolved by working with the viewer as to
   6   poor signals or lack of signal from their viewers?        6    what to do with their TV set.
   7        A If a -- if a viewer gets a poor picture            7        Q I understand.
   8   quality through cable, through satellite, through         8            My question was, do CBS stations get
   9   something else, the first -- the first place they         9    complaints that are not attributable to something
  10   would call would be the local station.                   10    that can be resolved with working with the viewer
  11           I do know that there's actually been             11    to fix their TV set?
  12   complaints from -- I recall there was a complaint        12        A I -- I -- I couldn't give you any
  13   from CBS station Denver who was attempting to view       13    specific ones that I'm aware of.
  14   the CBS signal on Locast, and the first person           14        Q So you're able to give me specifics of
  15   they called when it was getting a lousy signal was       15    every other scenario, but not of the particular
  16   the local station manager.                               16    scenario that I'm asking about, which is over-the-
  17           So if -- if Comcast goes out when                17    air signals over the antenna that have nothing to
  18   somebody is kicking the winning field goal,              18    do with user error.
  19   they're not going -- they're going to call the           19            MR. ZWEIFACH: Objection.
  20   local station. That's generally their first place        20    Argumentative.
  21   they call --                                             21            THE WITNESS: My -- my --
  22           THE REPORTER: I'm sorry. What did you            22            MR. ZWEIFACH: Is that a comment on his


                                                  Page 118                                                 Page 120
   1   say after, "That's generally their first place            1    testimony or is that a new question?
   2   they call"?                                               2           MS. SIMONS: It's a question.
   3           THE WITNESS: Is their local station.              3           MR. ZWEIFACH: Okay.
   4           THE REPORTER: Thank you.                          4           THE WITNESS: So my -- my exposure to
   5           THE WITNESS: Mm-hmm.                              5    what I heard from station managers were primarily
   6   BY MS. SIMONS:                                            6    during the various repacks when I would be in
   7        Q Do CBS stations also get complaints                7    regular touch with them as to what was going on
   8   about poor over-the-air signals that they're              8    with the -- with the repack and how -- how they
   9   receiving through their antenna?                          9    were doing with the viewers in those markets.
  10        A I'm aware of -- you know, periodically I          10    BY MS. SIMONS:
  11   heard of some. Most of those come back to what I         11        Q Mr. Orlando, what is ATSC 3.0?
  12   was referring to earlier at the various -- excuse        12        A Don't ask me -- don't ask me to tell you
  13   me -- at the various FCC repacks, the stations           13    what ATS -- ATSC stands for.
  14   would get some calls because they -- the viewer          14           3.0 is -- as I understand it, is a
  15   had to rescan their television set and didn't            15    experimental new standard as to which -- they have
  16   quite know how to do it.                                 16    IP-based internet protocol, based -- of which some
  17        Q Do CBS stations get complaints about              17    broadcasters are, under FCC authorization, are
  18   poor over-the-air signals that they are receiving        18    experimenting with.
  19   through their antenna that is not attributable to        19           I guess the best way to describe it
  20   user error or outdated scanning from their set?          20    perhaps is when, you know, there's a new broadcast
  21        A You know, when -- let me try to answer            21    standard from analog to digital, this is another
  22   it this way. Again, reflecting on when I was             22    one that some of the broadcasting industry is


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  1      CERTIFICATE OF CERTIFIED SHORTHAND REPORTER                                1   Digital Evidence Group, L.L.C.
  2       The undersigned Certified Shorthand Reporter                                  1730 M Street, NW, Suite 812
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  3       That the foregoing proceeding was taken before
                                                                                    3
      me remotely via Zoom videoconferencing at the time                            4   SIGNATURE PAGE
  4   therein set forth, at which time the witness was
                                                                                        Case: American Broadcasting Companies, Inc., et al. v. Goodfriend, et al.
      duly sworn; That the testimony of the witness and                             5   Witness Name: John S. Orlando
  5   all objections made at the time of the examination                                Deposition Date: December 1, 2020
      were recorded stenographically by me and were                                 6
  6   thereafter transcribed, said transcript being a                               7   I do hereby acknowledge that I have read
      true and correct copy of my shorthand notes                                       and examined the foregoing pages
  7   thereof; That the dismantling of the original                                 8   of the transcript of my deposition and that:
                                                                                    9
      transcript will void the reporter's certificate.
                                                                                   10   (Check appropriate box):
  8       In witness thereof, I have subscribed my name
                                                                                        ( ) The same is a true, correct and
  9   this date: December 4, 2020.                                                 11   complete transcription of the answers given by
 10
                                                                                        me to the questions therein recorded.
 11
                                                                                   12   ( ) Except for the changes noted in the
 12
                                                                                        attached Errata Sheet, the same is a true,
 13                                                                                13   correct and complete transcription of the
 14                                                                                     answers given by me to the questions therein
 15                                                                                14   recorded.
 16                                                                                15

 17                 ________________________
                                                                                   16   _____________        _________________________
                                                                                   17    DATE               WITNESS SIGNATURE
 18                 LESLIE A. TODD, CSR, RPR
                                                                                   18
 19                 Certificate No. 5129                                           19
 20
                                                                                   20
 21
                                                                                   21   _____________          __________________________
 22                                                                                22    DATE                  NOTARY


                                                                 Page 270                                                                    Page 272
  1    John S. Orlando, c/o                                                         1   Digital Evidence Group, LLC
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  4    Case: American Broadcasting Companies, Inc., et al. v. Goodfriend, et al.
       Date of deposition: December 1, 2020                                         6                 ERRATA SHEET
  5    Deponent: John S. Orlando                                                    7
  6
                                                                                    8   Case: American Broadcasting Companies, Inc., et al. v. Goodfriend, et al.
  7    Please be advised that the transcript in the above
  8    referenced matter is now complete and ready for signature.
                                                                                    9   Witness Name: John S. Orlando
  9    The deponent may come to this office to sign the transcript,                10   Deposition Date: December 1, 2020
 10    a copy may be purchased for the witness to review and sign,                 11   Page No. Line No.        Change
 11    or the deponent and/or counsel may waive the option of
                                                                                   12
 12    signing. Please advise us of the option selected.
                                                                                   13
 13    Please forward the errata sheet and the original signed
 14    signature page to counsel noticing the deposition, noting the               14

 15    applicable time period allowed for such by the governing                    15
 16    Rules of Procedure. If you have any questions, please do                    16
 17    not hesitate to call our office at (202)-232-0646.
                                                                                   17
 18

 19                                                                                18

 20    Sincerely,                                                                  19

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